980 F.2d 722
    Manning (Richard deY)v.Maloney (John J.), Morgan (J.R.), Fahey (Phillip M.), Howard(C.H.), Mc Cabe (D.G.), Goldflam (J.G.), Whitman (H.), Hogan(J.), Amorose (C.J.), Prinderville (R.A.), Weil (F.L.),Menshal (Mark), Keep (Brian)
    NO. 92-7150
    United States Court of Appeals,Third Circuit.
    Oct 05, 1992
    
      Appeal From:  M.D.Pa.,
      McClure, J.,
    
    787 F.Supp. 433
    
      1
      AFFIRMED.
    
    